Case 1:16-cv-01942-TWP-DML Document 243 Filed 08/02/19 Page 1 of 3 PagelD #: 10063

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA
INDIANAPOLIS DIVISION

VON DUPRIN LLC,
Plaintiff.

Vv. No. 1:16-cv-01942-TWP-DML
MORAN ELECTRIC SERVICE, INC.,
MAJOR HOLDINGS, LLC,

MAJOR TOOL AND MACHINE, INC.,
ZIMMER PAPER PRODUCTS
INCORPORATED, Defaulted on 7/24/2017,

Defendants.

 

MAJOR HOLDINGS, LLC,

MORAN ELECTRIC SERVICE, INC.,
MAJOR HOLDINGS, LLC,

MORAN ELECTRIC SERVICE, INC.,
MAJOR TOOL AND MACHINE, INC.,
MORAN ELECTRIC SERVICE, INC.,

Counter Claimants,

VON DUPRIN LLC,

MAJOR HOLDINGS, LLC,

VON DUPRIN LLC,

VON DUPRIN LLC,

MAJOR HOLDINGS, LLC,

VON DUPRIN LLC,

VON DUPRIN LLC,

MAJOR TOOL AND MACHINE, INC.,

Counter Defendants.

 

MAJOR HOLDINGS, LLC,
MAJOR HOLDINGS, LLC,
MAJOR TOOL AND MACHINE, INC.,

are meer Smee” Smee! Smt” net! Somer! Sonat? Saar Sean? nee” et! mee!” Ste gee” Ne Nee! Nene Somme” Sere! Nee” Sma! Ne” Se Te ee Ne ee ee ee Ne Ne! Ce Ne Ne te Se ee ee et et

 
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Cross Claimants,

Vv.

MORAN ELECTRIC SERVICE, INC.,
MORAN ELECTRIC SERVICE, INC.,
VON DUPRIN LLC,

Cross Defendants.
EXHIBITS ADMITTED INTO EVIDENCE DURING TRIAL
The Court admitted the following exhibits into the record during the jury trial held in this
matter.
JOINT
1001 - 1242
VON DUPRIN
101, 103, 104, 105, 106, 107, 108
MORAN
600, 602, 603, 614, 615, 619, 620, 621, 623, 624
MAJOR

722 and 723

E fa. J.:

COUNSEL FOR VON DUPRIN @ 4

SMX LAL

“COUNSEL FOR MORAN

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COUNSEL FOR MAJOR

 
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